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                                              May 26, 2021




        The Honorable Leonard P. Stark
        U.S. District Court for the District of Delaware
        844 North King Street
        Wilmington, Delaware 19801

                 Crystallex International Corp. v. Bolivarian Republic of Venezuela, et al.,
                                            C.A. No. 17-mc-151-LPS

        VIA ELECTRONIC FILING

        Dear Chief Judge Stark:

                The Intervenor Bondholders thank the Court for the choice extended to them in
        the Court’s memorandum order of yesterday. D.I. 275, at 6. In light of the Court’s ruling
        respecting fees and expenses, the Intervenor Bondholders will withdraw from further
        discussions with the Special Master. The Intervenor Bondholders do not understand this
        decision as affecting their ability to participate in proceedings before Your Honor.

                                                   Respectfully submitted,

                                                   s/ Daniel A. Mason
                                                   Daniel A. Mason (#5206)

        cc: All Counsel of Record
